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            3.      That since September 22, 1980, Petitioner has been and presently is a member in good
 2   standing of the bar of the highest Court of the State of Nebraska where Petitioner regularly practices
 3   law. Petitioner shall attach a certificate from the state bar or from the clerk of the supreme court or
 4   highest admitting court of each state, territory, or insular possession of the United States in which the
 5   applicant has been admitted to practice law certifying the applicant’s membership therein is in good

 6   standing.

 7                  That since July 23, 1991 and August 22, 1991, Petitioner has been and presently is a
     member in good standing of the bar of the highest Court of the State of Iowa where Petitioner regularly
 8
     practices law. Petitioner shall attach a certificate from the state bar or from the clerk of the supreme
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     court or highest admitting court of each state, territory, or insular possession of the United States in
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     which the applicant has been admitted to practice law certifying the applicant’s membership therein is
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     in good standing.
12
                    That since April 21, 2014, Petitioner has been and presently is a member in good
13   standing of the bar of the highest Court of the State of South Dakota where Petitioner regularly
14   practices law. Petitioner shall attach a certificate from the state bar or from the clerk of the supreme
15   court or highest admitting court of each state, territory, or insular possession of the United States in
16   which the applicant has been admitted to practice law certifying the applicant’s membership therein is

17   in good standing.

18                  4.      That Petitioner was admitted to practice before the following United States
     District Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and
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     Courts of other States on the dates indicated for each, and that Petitioner is presently a member in good
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     standing of the bars of said Courts.
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 1
                                  Court                                 Date Admitted         Bar Number
 2                        District of Nebraska                             09/22/1980             16385
 3          District Court of Iowa – Northern and Southern
                                                                       8/22/91 & 7/23/91       AT000778
 4
                    Eighth Circuit Court of Appeals                         5/9/2003
 5
                          U.S. Supreme Court                               03/17/2008
 6
            5.      That there are or have been no disciplinary proceeding instituted against petitioner, nor
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     any suspension of any license, certificate or privilege to appear before any judicial, regulatory or
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     administrative body, or any resignation or termination in order to avoid disciplinary or disbarment
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     proceedings, except as described in detail below:
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      None.
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